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NOT|CE TO COUNSEL

Before proceeding with the scheduled motions hearing in this case, the Court directs counsel for the parties
to answer the following inquires.

1. Have all of your pretrial motions been satisfied or otherwise resolved? §gj§ 9

2. Please list any unresolved motions which required a ruling by the court and indicate whether
argument is requested and/or'whether an evidentiary hearing is required. Any motion which is not
listed will be dismissed as moot.

3. |f a hearing is not required, please indicate so and return.
Evidentiag
Nature of Motion Argument Hearin_q
Reguested Reguired

 

 

 

 

 

 

 

 

 

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`Signature of Attorney Counsél for:

Overcash, et al.; 2:18-cr-14

 

BY DlRECT|ON OF THE COURT: E-F|LE this document on or before noon, AUG. 16, 2018

 

Pam Hammock
Courtroom Deputy Clerk
801 G|oucester Street
Brunswick, Georgia 31521

